  Case:
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                   United States Court of Appeals
                                 FIFTH CIRCUIT
                              OFFICE OF THE CLERK
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CLERK                                                      600 S. MAESTRI PLACE,
                                                                   Suite 115
                                                          NEW ORLEANS, LA 70130

                           December 11, 2020

MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:

      No. 20-30644     Terri Stevens, et al v.
                       St. Tammany Parish Government
                       USDC No. 2:20-CV-928

Enclosed is an order entered in this case.


                                  Sincerely,
                                  LYLE W. CAYCE, Clerk


                                  By: _________________________
                                  Rebecca L. Leto, Deputy Clerk
                                  504-310-703

Mr.   Kirk Norris Aurandt
Mr.   James L. Bradford III
Mr.   Donald Stephen Brouillette, Jr.
Mr.   Louis Roy Koerner Jr.
Ms.   Carol L. Michel
